        Case: 24-3259       Document: 16            Filed: 12/16/2024    Pages: 10




                United States Court of Appeals
                                 For the Seventh Circuit
                                 Chicago, Illinois 60604

                              Submitted December 16, 2024
                               Decided December 16, 2024

                                           Before

                         MICHAEL B. BRENNAN, Circuit Judge

                         THOMAS L. KIRSCH II, Circuit Judge

                         JOHN Z. LEE, Circuit Judge



No. 24-3259

TAHINA CORCORAN, as next friend on                  Appeal from the United States District
behalf of JOSEPH E. CORCORAN,                       Court for the Northern District of
       Petitioner-Appellant,                        Indiana, South Bend Division.

       v.                                           No. 3:24-CV-970-JD

RON NEAL,                                           Jon E. DeGuilio,
     Respondent-Appellee.                           Judge.

                                         ORDER

       Joseph E. Corcoran was convicted of quadruple murder and sentenced to death
in 1999. Before us is an appeal of the district court order denying a petition for a writ of
habeas corpus under 28 U.S.C. § 2254(d), and a motion to stay his December 18, 2024,
execution. This order assumes familiarity with:

      the district court’s December 13, 2024, opinion and order denying the habeas
       petition and the motion to stay execution;
           Case: 24-3259    Document: 16           Filed: 12/16/2024     Pages: 10


No. 24-3259                                                                          Page 2

      the Indiana Supreme Court’s December 10, 2024, opinion declining to authorize
       the petitions for successive post-conviction relief and denying the requests for
       stay of execution; and
      the previous decisions of this court, district courts that have ruled on Corcoran’s
       cases, and other previous rulings by the Indiana state courts.

                                      I.     Standing

        The habeas statutes provide for next-friend standing. 28 U.S.C. § 2242. But a next
friend may not file a petition for writ of habeas corpus on behalf of a detainee if that
detainee could file the petition himself. Wilson v. Lane, 870 F.2d 1250, 1253 (7th Cir. 1989)
(citation omitted). Citing various behaviors and writings of Corcoran, his wife submits
that he is not competent to sign an application for habeas corpus and that she and his
attorneys have standing as Corcoran’s next friend.

       The district court found that Corcoran’s wife and his attorneys have next-friend
standing to bring this habeas challenge on his behalf. We are somewhat uncomfortable
with that conclusion.

       The standard for competency to waive habeas proceedings is that the detainee
“has capacity to appreciate his position and make a rational choice with respect to
continuing or abandoning further litigation or on the other hand whether he is suffering
from a mental disease, disorder, or defect which may substantially affect his capacity in
the premises.” Rees v. Peyton, 384 U.S. 312, 314 (1966) (per curiam).

        Corcoran has submitted a detailed sworn notarized affidavit that articulately sets
forth his desire not to pursue federal relief. 1 His composition and filing of that affidavit
undercuts an assertion of incompetency to pursue a habeas petition. We seriously
question whether Corcoran’s wife and attorneys have proved that he is incompetent to
litigate himself. If not, next-friend status is not proper for him.




       1  This affidavit is dated November 21, 2024, is reproduced on pp. 9–10 of the
district court’s opinion and order, and is Attachment F of the appendix to the habeas
petition as DE 1 in the district court.
          Case: 24-3259    Document: 16           Filed: 12/16/2024     Pages: 10


No. 24-3259                                                                          Page 3

      Still, given the expedited manner in which we consider this appeal, 2 we think it
prudent to reach the petition’s merits.

                                      II.    Merits

                             A.     Habeas Corpus Petition

       The habeas petition under 28 U.S.C. § 2254(d) on Corcoran’s behalf centers on his
competency to be executed. The district court reviewed the evidence as to Corcoran’s
mental condition, both earlier in this case and recently submitted. Dist. Ct. DE 20 at 7–
10. This evidence includes, among other items, a booklet written by Corcoran with
conspiratorial theories about the government surveilling and controlling him, 3 as well
as Corcoran’s handwritten affidavit referenced above.

      Title 28 U.S.C. § 2254(d) provides:

      An application for a writ of habeas corpus on behalf of a person in
      custody pursuant to the judgment of a State court shall not be granted
      with respect to any claim that was adjudicated on the merits in State court
      proceedings unless the adjudication of the claim—

              (1) resulted in a decision that was contrary to, or involved an
              unreasonable application of, clearly established Federal law, as
              determined by the Supreme Court of the United States; or

              (2) resulted in a decision that was based on an unreasonable
              determination of the facts in light of the evidence presented in the
              State court proceeding.

We conclude that Corcoran by his next friend has not satisfied either of these
subsections.


      2  This appeal was docketed three days ago on December 13, 2024. The parties
submitted expedited briefing on December 14 and 15, 2024, and we issue this order on
December 16, 2024.
       3 This booklet is Attachment H of the appendix to the habeas petition as DE 1 in

the district court.
        Case: 24-3259      Document: 16          Filed: 12/16/2024     Pages: 10


No. 24-3259                                                                        Page 4

       First, the Indiana Supreme Court’s decision was not contrary to clearly
established federal constitutional law. Its decision correctly identified the governing
rule that the Eighth Amendment prohibits the execution of a prisoner who has lost his
sanity after sentencing. Its decision also was not contrary to the requirement of
competency elucidated in Ford v. Wainwright, 477 U.S. 399 (1986), Panetti v. Quarterman,
551 U.S. 930 (2007), and Madison v. Alabama, 586 U.S. 265 (2019).

       Corcoran’s next friend tries to show a “contrary-to” application by arguing that
federal courts have not required competency-to-be-executed claims to be subject to the
successive-petition-authorization procedure, yet Indiana courts require successive-
petition authorization to proceed to a full evidentiary hearing on a claim under Ford.
But we are not persuaded by this reasoning, as Indiana courts are not required to adopt
federal collateral review procedures.

       We do not conclude that the Indiana Supreme Court in its December 10, 2024,
decision unreasonably applied controlling law about incompetency to be executed. That
court correctly identified the governing legal rule. So, the petitioner must show that the
court applied that rule unreasonably to the facts. Yet, Corcoran’s next friend has not
met this requirement. The Indiana Supreme Court’s decision (including at pp. 24–27)
did not unreasonably apply Supreme Court law when holding that the petition did not
make a substantial threshold showing under Ford. We also are not persuaded by an
argument that Corcoran is merely imitating rationality, and thus fails the competency
requirement elucidated in Ford, Panetti, and Madison. The Indiana Supreme Court is not
unreasonable for relying on Corcoran’s affidavit and reaching the conclusions that it
did. The district court correctly recognized this in its well-reasoned opinion and order
at pp. 23–30.

      Second, the Indiana Supreme Court’s decision did not rest on an unreasonable
determination of the facts. Our review of the state court’s factual findings is highly
deferential.

       The next friend argues about the weight they believe the state court should have
given certain evidence, whether it is Corcoran’s November 2024 affidavit or a new
expert report by Dr. Angeline Stanislaus. But arguments as to weight are properly made
under 28 U.S.C. § 2254(d)(1), not (d)(2). See Lopez v. Smith, 574 U.S. 1, 8 (2014).

       Under 28 U.S.C. § 2254(e)(1), a determination of a factual issue is presumed
correct. The petitioner must rebut that presumption by clear and convincing evidence.
        Case: 24-3259       Document: 16          Filed: 12/16/2024      Pages: 10


No. 24-3259                                                                          Page 5

Corcoran’s next friend has not done so here. Corcoran was found competent in 2004,
and he has not ever been adjudicated incompetent. The record does not show evidence
of Corcoran’s mental competency degrading since that earlier finding of competency.
There is also not a recent evaluation that Corcoran does not understand the reasons for
his execution. Indeed, Corcoran’s affidavit attests that he does understand his execution
and the reasons for it. The state court made no unreasonable factual determinations.

      Because there has not been an unreasonable application of federal law as
determined by the Supreme Court of the United States, and not been an unreasonable
determination of the facts in light of the evidence presented in this lengthy litigation,
we agree with the district court that the habeas petition should be denied.

                                  B.     Motion to Stay

        To be granted a stay, Corcoran’s next friend must have made a strong showing
that he is likely to succeed on the merits, that Corcoran will be irreparably injured
absent a stay, that the issuance of the stay will not substantially injure the other parties
interested in the proceeding, and that granting a stay is in the public interest. Nken v.
Holder, 556 U.S. 418, 434 (2009). We review the district court’s decision on a motion to
stay for an abuse of discretion. Bourgeois v. Watson, 977 F.3d 620, 628 (7th Cir. 2020)
(citation omitted). The Supreme Court has repeatedly emphasized that “[l]ast-minute
stays [of execution] should be the extreme exception, not the norm.” Bucklew v. Precythe,
587 U.S. 119 (2019).

        In reviewing the district court’s decision to deny the motion to stay, we focus
largely on the first factor. As the stay’s proponent, Corcoran’s next friend must make a
“strong showing” of a likelihood of success on the merits of the underlying claim. Nken,
556 U.S. at 434. We have described above the reasons why Corcoran’s next friend has
failed to make that strong showing in this petition. Corcoran’s next friend obviously
satisfies the second stay factor of irreparable harm, but the third and fourth factors are
more in equipoise. We do note that on the third factor, “equity must be sensitive to the
State’s strong interest in enforcing its criminal judgments without undue interference
from the federal courts.” Hill v. McDonough, 547 U.S. 573, 584 (2006). And on the fourth
factor, all share in the timely enforcement of Corcoran’s sentence.

      Under the Nken factors, we agree with the district court that a stay is not
warranted.
        Case: 24-3259      Document: 16          Filed: 12/16/2024     Pages: 10


No. 24-3259                                                                        Page 6

                                           ***
       We agree in material part with the district court’s decision here to deny the
habeas corpus petition. That court and the Indiana Supreme Court decisions have
correctly resolved the questions raised by Corcoran’s next friend.

       For these reasons, the district court’s judgment is AFFIRMED, and the motion to
stay execution is DENIED.
        Case: 24-3259      Document: 16           Filed: 12/16/2024     Pages: 10


No. 24-3259                                                                         Page 7

       LEE, Circuit Judge, dissenting. A federal court may grant habeas relief only if the
state court’s adjudication of the merits of the claim resulted in a decision that is: (1)
“contrary to, or involved an unreasonable application of, clearly established Federal
law, as determined by the Supreme Court of the United States”; or (2) “based on an
unreasonable determination of the facts in light of the evidence presented in the State
court proceeding.” 28 U.S.C. § 2254(d). Because the Indiana Supreme Court
unreasonably applied the well-established standard governing competency-for-
execution articulated in Ford v. Wainwright, 477 U.S. 399 (1986); Panetti v. Quarterman,
551 U.S. 930 (2007); and Madison v. Alabama, 586 U.S. 265 (2019), I respectfully dissent.
Given the time constraints, I will briefly summarize my reasons below.

        The Indiana Supreme Court premised its ruling on Joseph Corcoran’s
competency to be executed on two grounds: (1) its 2005 decision affirming the state trial
court’s determination that Corcoran was competent to waive post-conviction relief; and
(2) Corcoran’s statements in his affidavit filed on November 21, 2024. See Corcoran v.
State, – N.E.3d –, 2024 WL 5052384, at *12–14 (Ind. Dec. 10, 2024). In doing so, the court
violated Ford and Panetti in two ways.

        First, the court believed it had already decided Corcoran’s competency for
execution in 2005. See id. at *14 (“When concluding that Corcoran was competent to
waive post-conviction remedies [in 2005], we concluded that he has a non-delusional
understanding of these legal proceedings. And part of what we relied on was his
‘reasoning that his death sentence is commensurate with the crime he committed (the
conclusion to which both the original trial court jury and judge came).’”) (citing
Corcoran v. State, 820 N.E.2d 655, 661 (Ind. 2005)). But the competency standard the
court used in 2005 was based on Dusky v. United States, 362 U.S. 402 (1960), and Rees v.
Peyton, 384 U.S. 312 (1966), which considers a defendant’s “capacity to appreciate his
position and make a rational choice with respect to continuing or abandoning further
litigation.” Rees, 384 U.S. at 314. This is markedly different from the standard governing
a prisoner’s competency to be executed, which asks “whether a prisoner’s mental state
is so distorted by a mental illness that he lacks a rational understanding of the State’s
rationale for his execution.” Madison, 586 U.S. at 269 (cleaned up). “Or similarly put, the
issue is whether a prisoner’s concept of reality is so impaired that he cannot grasp the
execution’s meaning and purpose or the link between his crime and its punishment.” Id.
(cleaned up).

       In 2005, the Indiana Supreme Court held that “Corcoran’s awareness of his legal
position and his ability to formulate a rational justification for forgoing further post-
           Case: 24-3259   Document: 16           Filed: 12/16/2024     Pages: 10


No. 24-3259                                                                         Page 8

conviction review make him competent to waive such review under either Rees or
Dusky.” Corcoran, 820 N.E.2d at 662. By treating its 2005 decision as conclusive here, the
Indiana Supreme Court effectively substituted the Rees standard in place of the
Ford/Panetti standard.

       The court’s error is perhaps most apparent in the following statement: “Our
determination that Corcoran could waive his post-conviction remedies included an
analysis of whether his mental illness interfered with his ability to understand why the
State was executing him. And now that a challenge to competency for execution is ripe,
there is no indication that Corcoran’s understanding of why he is to be executed has
changed.” Corcoran, 2024 WL 5052384, at *14. In Panetti, however, the United States
Supreme Court was careful to note that “[a] prisoner’s awareness of the State’s rationale
for an execution is not the same as a rational understanding of it.” 551 U.S. at 959. In
Panetti’s parlance, the Indiana Supreme Court determined in 2005 that Corcoran had the
capacity to understand the rationale for his execution, but it did not inquire (because it
had no reason to) whether Corcoran had a rational understanding of it. And, indeed, to
date, no court has conducted such an inquiry.

       Putting aside the differing standards, the relevance of Corcoran’s 2003
competency finding to the current inquiry is at best questionable. Twenty years have
passed since that evaluation, and, as the Supreme Court had recognized, “[p]rior
findings of competency do not foreclose a prisoner from proving he is incompetent to
be executed because of his present mental condition.” Panetti, 551 U.S. at 934. The
Indiana Supreme Court, on the other hand, assumed that Corcoran’s condition had not
changed in the last two decades. Corcoran, 2024 WL 5052384, at *13 (“Virtually all the
evidence the State Public Defender cites is the evidence we previously considered when
determining Corcoran could waive post-conviction remedies.”). But Petitioner has
offered new evidence that Corcoran’s severe paranoid schizophrenic delusions not only
continue but also cause him to hide his condition from the world and feign sanity. 1

       1 For example, in his recently published book, Electronic Harassment: A Whistle-
blower Report, Corcoran states that he wants to show that his belief that prison officials
are using an ultrasound machine to control him and others “is not a nut job conspiracy
theory, but is basic electronics.” DE 1, Appendix, Attachment H at 13 (181a). Later, he
continues, “If a credentialled medical person says a man is mentally ill, but he says that
he is the victim of electronic harassment, who would people be more likely to believe?
So because of this the victimizer’s cover is not seemingly backed up by medical
science.” Id. at 20 (188a).
           Case: 24-3259    Document: 16           Filed: 12/16/2024      Pages: 10


No. 24-3259                                                                           Page 9



       This leads to the second point. To support its belief that Corcoran is competent to
be executed and nothing has changed, the Indiana Supreme Court placed much stock in
the statements Corcoran made in his November 21, 2024, affidavit. See id. at *12–14. But,
because Corcoran filed his affidavit after briefing had concluded, the Indiana Supreme
Court did so without providing defense counsel an opportunity to respond to it. This is
precisely the lack of due process the Supreme Court condemned in Ford and Panetti. See
Ford, 477 U.S. at 415 (noting that the state procedure did not allow a defendant to
challenge or impeach the opinion of the state-appointed psychiatrists who deemed him
competent); Panetti, 551 U.S. at 948 (noting that the state court reached its competency
determination after failing to provide petitioner with “an adequate means by which to
submit expert psychiatric evidence in response to the evidence that had been solicited
by the state court”).

        The Indiana Supreme Court’s reliance on Corcoran’s untested affidavit is
particularly troubling given that defense counsel’s entire theory is premised on
Corcoran’s inability to rationally comprehend the reasons behind his execution and his
efforts to hide his true motivations for seeking the death penalty. Indeed, the Supreme
Court has found the law “clearly established” that “[o]nce a prisoner seeking a stay of
execution has made a ‘substantial threshold showing of insanity,’ the protection
afforded by procedural due process includes a ‘fair hearing’ in accord with
fundamental fairness.” Panetti, 551 U.S. at 949 (quoting 28 U.S.C. § 2254 and Ford, 477
U.S. at 426). 2

       For these reasons, I believe that the Indiana Supreme Court unreasonably
applied the standard the Supreme Court announced in Ford and Panetti for evaluating a
prisoner’s competency to be executed. Given Corcoran’s long, undisputed history of
severe mental illness and the pervasiveness of his continuing delusions, as evidenced
by his book and recent medical records, Corcoran is entitled to have at least one court
assess his competency to be executed under the proper Ford/Panetti framework.

       Turning to Petitioner’s motion for a stay of execution, courts evaluating a stay
must consider an applicant’s likelihood of success on the merits and potential for
irreparable injury, as well as injury to other parties and the public interest. See Nken v.

       2 It bears mentioning that Corcoran has recanted similarly unequivocal
attestations of waiver. See Corcoran, 820 N.E.2d at 657. Because death is irrevocable, this
history should lead us to view his current statements with a skeptical eye.
          Case: 24-3259    Document: 16            Filed: 12/16/2024   Pages: 10


No. 24-3259                                                                        Page 10

Holder, 556 U.S. 418, 434 (2009). Here, Petitioner has established a likelihood of success
on her claim that the state court failed to provide an adequate hearing to determine
Corcoran’s competency to be executed. The record contains undisputed and extensive
expert evidence of Corcoran’s paranoid schizophrenia and the resultant pervasive
delusions from which he has long suffered. When recognizing that gross delusions may
render a prisoner incompetent to be executed, the Supreme Court in Panetti accepted
observations by two experts and similarly “extensive evidence of mental dysfunction
considered in earlier legal proceedings” to conclude that “the state court failed to
provide petitioner [there] with the minimum process required by Ford.” Panetti, 551 U.S.
at 950. Here, too, Petitioner is likely to demonstrate a substantial threshold showing of
insanity mandating a fair hearing under Ford.

       Additionally, in a death-penalty case like this one, the equities of irreparable
harm tip strongly in Petitioner’s favor. While the harm to the State and the victims may
be delay in the duly imposed sentence (a valid interest), the potential harm to Corcoran
is experiencing the “barbarity of … mindless vengeance,” which serves no public
interest. See Ford, 477 U.S. at 410. Accordingly, I would grant Petitioner’s motion for a
stay so that the state court can evaluate Corcoran’s competency to be executed as
required by Ford and Panetti. 3

      For these reasons, I respectfully dissent.




      3  A couple of additional issues warrant mention. Regarding the district court’s
ruling as to procedural default, as I see it, the Indiana Supreme Court’s determination
regarding Corcoran’s competency to waive post-conviction relief depends primarily on
federal law or is interwoven with federal law. Accordingly, it does not rest on an
independent and adequate state law ground. See Richardson v. Lemke, 745 F.3d 258, 269
(7th Cir. 2014). As to standing, the district court properly found that Tahina Corcoran
has adequately shown that she is a proper next friend for the purposes of the
preliminary stages of this habeas case. My colleagues’ reliance on Corcoran’s recent
affidavit is problematic for the reasons I have explained. Thus, I would affirm that
finding.
